                 Case 14-31182-lkg          Doc 47         Filed 08/21/18                Page 1 of 1
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    SEAN & KASANDRA ADAMS


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35(6(17 Honorable Laura K. Grandy, US Bankruptcy Judge

&2816(/)253/$,17,))          Ronald Buch

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352&((',1*6 Motion to Avoid Lien

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 Case is called for hearing on the debtors' Motion to Avoid Lien. Ronald Buch appears telephonically.
Pursuant    to the statements made in open court, the Motion was granted pursuant to an Order entered
 on August 17, 2018. The Order on the Motion to Reopen, entered June 29, 2018, is enlarged to allow
 for the filing of the Motion to Avoid Lien. The Court waives the filing fee for this enlarged reopening.
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                                                         /s/Kim Billhartz
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